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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA
                                   WESTERN DIVISION

 STATE OF NORTH DAKOTA,                            )
                                                   )
 Plaintiff,                                        )
                                                   )
 v.                                                )      Civil No. 1:19-cv-00150-DMT-ARS
                                                   )
 THE UNITED STATES OF AMERICA,                     )
                                                   )
 Defendant.                                        )


                 UNITED STATES’ PROPOSED FINDINGS OF FACT,
               CONCLUSIONS OF LAW, AND ORDER FOR JUDGMENT

        Pursuant to the Court’s March 14, 2024 Order Setting a Post-Trial Briefing Schedule (ECF

No. 427), the United States respectfully submits the attached Proposed Findings of Fact,

Conclusions of Law, and Order for Judgment.

Dated: August 12, 2024                         MATTHEW T. KIRSCH
                                               Acting United States Attorney
                                               District of Colorado

                                               /s/ Jane Bobet Rejko
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2024, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will send notification of the filing to any party who has
entered an appearance in this matter via the e-mail addresses provided in CM/ECF

                                               /s/ Jane Bobet Rejko
                                               Jane Bobet Rejko




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